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                              CONTRACT
                              BETWEEN
        THE CITY OF JACKSONVILLE AND TYLER TECHNOLOGIES, INC.
       UTILIZING CITY OF TALLAHASSEE CONTRACT #TALL-17A1A FOR
     AUTOMATED LAW ELECTRONIC DOCUMENT RECORDS MANAGEMENT
                               SYSTEM


       This Contract is made and entered into as of the 30th day of June, 2020 (the "Effective
Date"), by and between the CITY OF JACKSONVILLE, a municipal corporation existing under
the Constitution and the laws of the State of Florida, for and on behalf of the Jacksonville Sheriffs
Office ("City"), and TYLER TECHNOLOGIES, INC. a Delaware corporation authorized to
conduct business in the State of Florida, with its principal offices located at 5101 Tennyson
Parkway, Plano, Texas ("Contractor").

                                         WITNESSETH:

        WHEREAS, the City of Tallahassee, Florida ("Tallahassee") entered into that certain
License and Services Agreement Document No. TALL-I 7A IA executed December 13, 2017 with
Tyler Technologies, Inc. (the "Tallahassee Contract") for the purchase of an automated law
electronic document records management system (the "Solution" or the "Services");

       WHEREAS, the Tallahassee Contract is in full force and effect, and has been competitively
procured, awarded and contracted by Tallahassee, a municipal corporation existing under Florida
laws;

        WHEREAS, Section 126.211, City ofJacksonville Ordinance Code, authorizes and allows
the City to utilize, contracts of municipal entities which have been competitively procured, awarded
and contracted, to procure supplies and contractual services without formal advertisement;

       WHEREAS, City's General Government Awards Committee approved the award of this
Contract to Contractor on March 5, 2020;

       WHEREAS, the City and Contractor have negotiated certain changes to the prices, terms
and conditions of the Tallahassee Contract which terms are reflected in the License and Services
Agreement attached to this Contract as Appendix I ( the "License and Services Agreement") and
which terms are the same or more favorable than the prices, terms and conditions of the Tallahassee
contract; and

       WHEREAS, this Contract also adds those contractual provisions the City is required to use
by ordinance or policy;

        NOW THEREFORE, in consideration of the mutual covenants contained in this Contract
and for other good and valuable consideration, the parties agree as follows:




                                                                                 Exhibit A
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         IN WITNESS WHEREOF, the parties hereto have executed this Contract as of the
 Effective Date.


 Witness:                                                 Tyler Technologies, Inc.



                                                          By:
 Print Name:                                              Print Name: V ^ ulark
                                                          Title:     Sr. Corporate Attorney




 Attest:                                                  City       :ksonvilIe

 * skLt.wfCJfrAt: _                                                                   Brian Hurjhes
                                                                                      Chief Administrative Officer
 JyrfmVL. McCain, Jr.
 (^yfporation Secretary
                                                          i  iny Curry
                                                            iyor
                                                                                     'for: Mayor t.enny Curry
                                                                                      Uhtjer Authority of:
                                                                                      E*eGi>itye Qrrfer Net 8019*02



         In compliance with the Ordinance Code of the City of Jacksonville, I do hereby certify that
there is an unexpended, unencumbered, and unimpounded balance in the appropriation sufficient to
cover the foregoing Contract, and provision has been made for the payment of the monies provided
therein to be paid from the following accountT'                      /


                                          By:
                                          Director df Finance
                                          Contract No.: ^ fQ- (Q

Form Approved:



By:        QuJiOU,
Office of Gffljeral Counsel


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